                                         Case 18-04074   Doc 15-1   Filed 11/20/18   Entered 11/20/18 14:30:31   Desc Exhibit A   Page 1 of 4




                                                                                                                                                A




                                                              WHITAKER CHALK MOVANTS

46   Total Movants
46   Movants received Notice of Bankruptcy
46   Movants received Notice of Joint Motion to Approve Compromise and Settlement
15   Movants filed objections to Notice of Joint Motion to Approve and Compromise Settlement (Case No. 16-41044; In re: Payson
     Petroleum, Inc., et al.; in the United States Bankruptcy Court for the Eastern District of Texas, Sherman Division.)
9    Movants filed Proofs of Claim (Case No. 16-41044; In re: Payson Petroleum, Inc., et al.; in the United States Bankruptcy Court for the
     Eastern District of Texas, Sherman Division).
                                        Case 18-04074   Doc 15-1   Filed 11/20/18   Entered 11/20/18 14:30:31   Desc Exhibit A   Page 2 of 4
                               GENERAL PARTNERS OF PAYSON PETROLEUM 3 WELL LP
                                            ADVERSARY # 18-04074
                                          WHITAKER CHALK MOVANTS
                                                                     Notice of LPs             Notice of 9019              POC            Filed Objection to Notice of 9019 Motion
                             Movant                                Bankruptcy filings             Motion                                     9019 Motion        Case 17-40180
                                                                     Case 17-40179             Case 17-40179                                Case 16-41044          [Dkt. 31]
                                                                        [Dkt. 2]                 [Dkt. 34]                                    [Dkt. 154]
Ronald L. Adams                                                            Y                         Y                                           238                    Y

Libbie Marie Adams                                                           Y                         Y                                                              Y
Joseph Arpino                                                                Y                         Y                                                              Y
Carol A. Arpino                                                              Y                         Y                                                              Y
Ronald E. Barfield                                                           Y                         Y                                                              Y
Bobby J. Bowland                                                             Y                         Y                                                              Y
Terri A. Bowland                                                             Y                         Y                                                              Y
Janis M. Bridges                                                             Y                         Y                                                              Y
Carl R. Brumley                                                              Y                         Y                                                              Y
Timothy L. Carman                                                            Y                         Y                    60                  161                   Y
                                                                                                                        (16-41044)
Albert S. Carse                                                              Y                         Y                    76                  229                   Y
                                                                                                                        (16-41044)
Audrey Carse                                                                 Y                         Y                    76                  229                   Y
                                                                                                                        (16-41044)
Brian Cepetelli                                                              Y                         Y                                        247                   Y
Gary G. Donner                                                               Y                         Y                                                              Y
Joel Dow                                                                     Y                         Y                    79                                        Y
                                                                                                                        (16-41044)
Mary Louise and Albert Edwards                                               Y                         Y                                                              Y
George W. Faris, III                                                         Y                         Y                                        162                   Y
William Kloster                                                              Y                         Y                                                              Y

Michael N. Kusheba                                                           Y                         Y                                                              Y
Kenneth and Patricial Lowe                                                   Y                         Y                    104                                       Y
                                                                                                                        (16-41044)
Revocable Living Trust Agreement of Rebecca A. Lowe,                         Y                         Y                                                              Y
through Trustee Rebecca Lowe
Theodore Lung                                                                Y                         Y                                                              Y
Barbara Fraus Jacquin                                                        Y                         Y                                                              Y
                                           Case 18-04074   Doc 15-1   Filed 11/20/18
                                                                                   Entered 11/20/18 14:30:31 Desc Exhibit A Page 3 of 4
                                                                        Notice of LPs          Notice of 9019            POC          Filed Objection to Notice of 9019 Motion
                           Movant                                     Bankruptcy filings           Motion                                9019 Motion        Case 17-40180
                                                                        Case 17-40179          Case 17-40179                            Case 16-41044          [Dkt. 31]
                                                                           [Dkt. 2]               [Dkt. 34]                               [Dkt. 154]
Roland E. Lentz Revocable Living Trust, through Trustee                       Y                        Y                                                            Y
Roland E. Lentz
David and Lora Lyons                                                            Y                   Y                                   171                      Y
                                                                                                                                 Filed by David Pre
                                                                                                                                         Se
Dana Markovics                                                                  Y                   Y                 90                253                      Y
                                                                                                                  (16-41044)
Glen M. Markovics                                                               Y                   Y                                   254                      Y

Monica Markovics                                                                Y                   Y                                   249                      Y

Mark Modlin                                                                     Y                   Y                                   187                      Y

The George F. Phelps Revocable Living Trust, through Trustee                    Y                   Y                                                            Y
George Phelps
Margaret Propst                                                                 Y                   Y                 97                                         Y
                                                                                                                  (16-41044)
The Propst Family Trust, through Trustee Donald Propst                          Y                   Y                 96                                         Y
                                                                                                                  (16-41044)
The Radcliff Living Trust, through Trustees Jerry Radcliff and                  Y                   Y                                                            Y
Joan Radcliff
Richard R. Rector                                                               Y                   Y                                                            Y
Sue C. Rector                                                                   Y                   Y                                                            Y
Sharolyn N. Richardson                                                          Y                   Y                                                            Y
Swift Revocable Qualified Spousal Trust, through Trustee Mary                   Y                   Y                                   180                      Y
Ann Swift                                                                                                                         Filed by Mary
                                                                                                                                 Swift individually
Charles L. Terry                                                                Y                   Y                                   207                      Y

Katherine G. Terry                                                              Y                   Y                                                            Y
Waggoner Family Revocable Living Trust, through Trustees,                       Y                   Y                 78                210                      Y
Ronald Waggoner and Cheryl Waggoner                                                                               (16-41044)
George Lee Weaver                                                               Y                   Y                                                            Y
William and Joann Whelpley                                                      Y                   Y                                                            Y
Jeffrey T. Wilshire                                                             Y                   Y                                                            Y
                                          Case 18-04074   Doc 15-1   Filed 11/20/18
                                                                                  Entered 11/20/18 14:30:31 Desc Exhibit A Page 4 of 4
                                                                       Notice of LPs          Notice of 9019            POC          Filed Objection to Notice of 9019 Motion
                          Movant                                     Bankruptcy filings           Motion                                9019 Motion        Case 17-40180
                                                                       Case 17-40179          Case 17-40179                            Case 16-41044          [Dkt. 31]
                                                                          [Dkt. 2]               [Dkt. 34]                               [Dkt. 154]
Wise Family Trust, through Trustee Lucile Wise                               Y                        Y                                      258                   Y
                                                                                                                                       Filed by Lucile
                                                                                                                                      Wise individually
Peili Wu                                                                     Y                        Y                                                            Y
Laddie Zimmet                                                                Y                        Y                                                            Y
